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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES                              NO. 2:20-cr-00045-GAM
                                            JUDGE MCHUGH

              v.

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                      Defendants


                                   PROPOSED ORDER

      AND NOW, this                day of             , 2020, upon consideration of

Defendant Shahied Dawan’s Motion to Dismiss Counts One through Sixteen of the Indictment

and the response thereto it is hereby ORDERED that the Motion is GRANTED.



                                                 BY THE COURT:



                                                 _______________________________
                                                 Honorable Gerald Austin McHugh
                                                 U.S. District Court Judge
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 UNITED STATES                                    NO. 2:20-cr-00045-GAM
                                                  JUDGE MCHUGH

                v.

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                        Defendants


     DEFENDANT SHAHIED DAWAN’S MOTION TO DISMISS COUNTS 1
                THROUGH 16 OF THE INDICTMENT

       Defendant Shahied Dawan hereby moves this Honorable Court to Dismiss Counts

One through Sixteen of the Indictment. Pursuant to Federal Rule of Criminal Procedure

12(b)(3), the Defendant Dawan asserts that the Government has failed to establish a

cognizable crime under the applicable statues for conspiracy to commit racketeering,

honest services fraud, use of intestate facility to further racketeering, and wire fraud.

Throughout its indictment the Government fails to state with sufficient specificity the acts

which it alleges Shahied Dawan himself participated in committing.


       In support of his motion, Shahied Dawan avers:

       1.      Shahied Dawan, was the Chief Financial Officer of the Universal

               Companies Education and at no point during the relevant indictment

               period did Mr. Dawan have authority or involvement in contract




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       management, beyond the expected duties of a CFO to ensure payment of

       submitted invoices.


 2.    At no time did Shahied Dawan meet or conspire with any individuals

       alleged in the indictment.


 3.    Shahied Dawan played no role in contract negotiations or acquisition of

       Dawn Chavous services other than ensure that Universal’s payment

       obligations were met.


 4.    Count 1- Conspiracy to Commit Racketeering under 18 U.S.C.§ 1962(d)

       requires that the indictment allege the involvement of an individual in a

       criminal enterprise, tending to prove the existence of said participation

       through overt acts.


 5.    Throughout its indictment, the Government consistently uses the phrase

       “Islam and Dawan” to describe participation in overt acts. The

       Government only intends to present evidence at trial related to Islam’s

       commission of the alleged overt acts 1 through 13 of the indictment and

       intends to rely on Dawan’s performance of his job duties as evidence of

       his involvement in a criminal conspiracy.


 6.    Counts 2 through 7, Honest Services Wire Fraud, indicts the use of wires

       to execute any “scheme or artifice to defraud.” 18 U.S.C. § 1343. This

       includes any “scheme or artifice to deprive another of the intangible right




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       of honest services,” or what is known as “honest services fraud.” See 18

       U.S.C. § 1346;


 7.    These charges against Dawan allege that his relaying of figures and

       amounts related to lease deferments and administration of payments for

       invoices submitted by Islam constituted a violation of §1343 & §1346.


 8.    All of Dawan’s actions were consistent with the regular duties of a Chief

       Financial Officer.


 9.    Count 8, Use of Interstate Facility to Further Racketeering under 18

       U.S.C. § 1952 (a)(3) alleges that Dawan utilized an email server to

       facilitate the payment of bribes to Michael Bonds.


 10.   The Government does not intend to present evidence at trial that would

       indicate that Shahied Dawan had any knowledge that a bribe was being

       paid to Michael Bonds.


 11.   Counts 9 through 10, Honest Services Wire Fraud, indicts the use of wires

       to execute any “scheme or artifice to defraud.” 18 U.S.C. § 1343. This

       includes any “scheme or artifice to deprive another of the intangible right

       of honest services,” or what is known as “honest services fraud.” See 18

       U.S.C. § 1346;


 12.   Counts 11 through 16, again; the Government summarily incorporates an

       includes Shahied Dawan as having committed overt acts 1-13, 14-22, and

       23-25 of count one. These acts include co-defendants Councilmember


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            Johnson and Ms. Chavous, neither of which had any dealings with Mr.

            Dawan;


      13.   The Indictment fails to establish a nexus between Shahied Dawan and

            Chavous Consulting’s contract with Universal and Councilmember

            Johnson’s actions or the actions of CEO Rahim Islam;


      14.   The Government has failed to allege facts sufficient to establish that Mr.

            Dawan possessed the requisite criminal intent in the performance of any of

            his job duties;


      15.   The Indictment fails to offer any objective information that Mr. Dawan

            exhibited the requisite intent necessary to sustain a prosecution under the

            various counts of the indictment;


      16.   Nowhere does the Indictment allege that Mr. Dawan received any benefit

            from Michael Bonds, Rahim Islam, Councilmember Johnson or Dawn

            Chavous.


WHEREFORE, Shahied Dawan moves this Honorable Court to Dismiss Counts One
through Sixteen of the Indictment.




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Dated: October 14, 2020

                               Respectfully submitted,

                               /s/Thomas O. Fitzpatrick
                               Thomas O. Fitzpatrick, Esq.
                               Mincey Fitzpatrick Ross, LLC
                               1500 Market Street, 12th Floor, East Tower
                               Philadelphia, PA 19102
                               Phone: (215) 587-0006
                               Fax: (215) 587-0628
                               Attorneys for Defendant Shahied Dawan




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 DAWN CHAVOUS

                       Defendants

                              CERTIFICATE OF SERVICE

        I hereby certify that a true ad correct copy of the within Motion to Dismiss was duly
served on the below counsel of record and unrepresented parties on the 14th of October 2020,
electronically.

                                         Mark Dubnoff
                                    Mark.Dubnoff@usdoj.gov

                                          Gibson, Eric
                                    Eric.Gibson2@usdoj.gov


                                                     Respectfully submitted,




                                                     THOMAS O. FITZPATRICK, ESQUIRE
                                                     Attorneys for Defendant Shahied Dawan




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